         Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 1 of 32 PageID #:1




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

    GENEVIEVE TAMBRONI, and JOHN                  )      Case No.
    LATTIMORE, as parent for minor children       )
    S.L. and V.L., individually, and on behalf
    of all others similarly situated,             )
                                                  )
                         Plaintiffs,              )
    v.                                            )
                                                  )
    WELLNOW URGENT CARE, P.C.,
    ADMI CORP d/b/a/ TAG – THE ASPEN              )      [JURY TRIAL DEMANDED]
    GROUP, and PHYSICIANS IMMEDIATE               )
    CARE LLC,                                     )
                                                  )
                         Defendants.              )


                                          COMPLAINT
          1.    Representative Plaintiffs John Lattimore (on behalf of his minor children S.L. and

V.L.) and Genevieve Tambroni (“Representative Plaintiffs”) bring this class action against

Defendants WellNow Urgent Care, P.C., ADMI Corp. d/b/a TAG – The Aspen Group and

Physicians Immediate Care LLC (“Defendant” or “TAG”) for its failure to properly secure and

safeguard Representative Plaintiffs’ and Class Members’ protected health information and

personally identifiable information stored within Defendant’s information network, including

without limitation, full names, dates of birth and health information (these types of information,

inter alia, being thereafter referred to, collectively, as “protected health information” or “PHI” 1

and “personally identifiable information” or “PII”). 2


1
    Protected health information (“PHI”) is a category of information that refers to an individual’s
medical records and history, which is protected under the Health Insurance Portability and
Accountability Act. Inter alia, PHI includes test results, procedure descriptions, diagnoses,
personal or family medical histories and data points applied to a set of demographic information
for a particular patient.
2
    Personally identifiable information (“PII”) generally incorporates information that can be
used to distinguish or trace an individual’s identity, either alone or when combined with other
personal or identifying information. 2 C.F.R. § 200.79. At a minimum, it includes all information
that on its face expressly identifies an individual. PII also is generally defined to include certain
identifiers that do not on its face name an individual, but that are considered to be particularly
                                                 -1-
      Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 2 of 32 PageID #:2




       2.      With this action, Representative Plaintiffs seek to hold Defendant responsible for

the harms it caused and will continue to cause Representative Plaintiffs and numerous other

similarly situated persons in the massive and preventable cyberattack purportedly discovered by

Defendant on April 25, 2023, by which cybercriminals infiltrated Defendant’s inadequately

protected network servers and accessed highly sensitive PHI/PII which was being kept unprotected

(the “Data Breach”).

       3.      Representative Plaintiffs further seek to hold Defendant responsible for not

ensuring that the PHI/PII was maintained in a manner consistent with industry, the Health

Insurance Portability and Accountability Act of 1996 (“HIPAA”) Privacy Rule (45 CFR, Part 160

and Parts A and E of Part 164), the HIPAA Security Rule (45 CFR Part 160 and Subparts A and

C of Part 164) and other relevant standards.

       4.      While Defendant claims to have discovered the breach as early as April 25, 2023,

Defendant did not begin informing victims of the Data Breach until February 2024 and failed to

inform victims when or for how long the Data Breach occurred. Indeed, Representative Plaintiffs

and Class Members were wholly unaware of the Data Breach until they received letters from

Defendant informing them of it. The Notices received by Representative Plaintiffs were dated

February 22, 2024.

       5.      Defendant acquired, collected and stored Representative Plaintiffs’ and Class

Members’ PHI/PII. Therefore, at all relevant times, Defendant knew or should have known that

Representative Plaintiffs and Class Members would use Defendant’s services to store and/or share

sensitive data, including highly confidential PHI/PII.




sensitive and/or valuable if in the wrong hands (for example, Social Security numbers, passport
numbers, driver’s license numbers, financial account numbers, etc.).
                                                -2-
      Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 3 of 32 PageID #:3




       6.      HIPAA establishes national minimum standards for the protection of individuals’

medical records and other protected health information. HIPAA generally applies to health plans

and insurers, healthcare clearinghouses and those healthcare providers that conduct certain

healthcare transactions electronically and sets minimum standards for Defendant’s maintenance of

Representative Plaintiffs’ and Class Members’ PHI/PII. More specifically, HIPAA requires

appropriate safeguards be maintained by organizations such as Defendant to protect the privacy of

protected health information and sets limits and conditions on the uses and disclosures that may

be made of such information without customer/patient authorization. HIPAA also establishes a

series of rights over Representative Plaintiffs’ and Class Members’ PHI/PII, including rights to

examine and obtain copies of their health records and to request corrections thereto.

       7.      Additionally, the HIPAA Security Rule establishes national standards to protect

individuals’ electronic protected health information that is created, received, used or maintained

by a covered entity. The HIPAA Security Rule requires appropriate administrative, physical and

technical safeguards to ensure the confidentiality, integrity and security of electronic protected

health information.

       8.      By obtaining, collecting, using and deriving a benefit from Representative

Plaintiffs’ and Class Members’ PHI/PII, Defendant assumed legal and equitable duties to those

individuals. These duties arise from HIPAA and other state and federal statutes and regulations as

well as common law principles. Representative Plaintiffs do not bring claims in this action for

direct violations of HIPAA, but charges Defendant with various legal violations merely predicated

upon the duties set forth in HIPAA.

       9.      Defendant disregarded the rights of Representative Plaintiffs and Class Members

by intentionally, willfully, recklessly and/or negligently failing to take and implement adequate



                                               -3-
      Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 4 of 32 PageID #:4




and reasonable measures to ensure that Representative Plaintiffs’ and Class Members’ PHI/PII

was safeguarded, failing to take available steps to prevent an unauthorized disclosure of data, and

failing to follow applicable, required and appropriate protocols, policies and procedures regarding

the encryption of data, even for internal use. As a result, Representative Plaintiffs’ and Class

Members’ PHI/PII was compromised through disclosure to an unknown and unauthorized third

party—an undoubtedly nefarious third party seeking to profit off this disclosure by defrauding

Representative Plaintiffs and Class Members in the future. Representative Plaintiffs and Class

Members have a continuing interest in ensuring their information is and remains safe and are

entitled to injunctive and other equitable relief.



                                  JURISDICTION AND VENUE
       10.     Jurisdiction is proper in this Court under 28 U.S.C. § 1332 (diversity jurisdiction).

Specifically, this Court has subject matter and diversity jurisdiction over this action under 28

U.S.C. § 1332(d) because this is a class action where the amount in controversy exceeds the sum

or value of $5 million, exclusive of interest and costs, there are more than 100 members in the

proposed class and at least one other Class Member is a citizen of a state different from Defendant.

       11.     Supplemental jurisdiction to adjudicate issues pertaining to state law is proper in

this Court under 28 U.S.C. § 1367.

       12.     Defendant routinely conduct business in the State where this District is located, has

sufficient minimum contacts in this State and has intentionally availed itself of this jurisdiction by

marketing and selling products and services, and by accepting and processing payments for those

products and services within this State.




                                                     -4-
      Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 5 of 32 PageID #:5




       13.      Venue is proper in this Court under 28 U.S.C. § 1391 because a substantial part of

the events that gave rise to Representative Plaintiffs’ claims took place within this District, and

Defendant does business in this Judicial District.



                                          PLAINTIFFS

       14.      Representative Plaintiff John Lattimore is an adult individual and, at all relevant

times herein, was a resident and citizen of the State of New York. Representative Plaintiff

Lattimore acts on behalf of his minor children, S.L. and V.L., who are victims of the Data Breach.

       15.      Representative Plaintiff Genevieve Tambroni is an adult individual and, at all

relevant times herein, was a resident and citizen of the State of New York.

       16.      Defendant received highly sensitive PHI/PII from Representative Plaintiffs in

connection with the services Representative Plaintiffs obtained. As a result, Representative

Plaintiffs’ information was among the data accessed by an unauthorized third party in the Data

Breach.

       17.      At all times herein relevant, Representative Plaintiffs are and were members of each

of the Class.

       18.      As required in order to obtain services from Defendant, Representative Plaintiffs

provided Defendant with highly sensitive PHI/PII.

       19.      Representative Plaintiffs’ PHI/PII was exposed in the Data Breach because

Defendant stored and/or shared Representative Plaintiffs’ PHI/PII. Representative Plaintiffs’

PHI/PII was within the possession and control of Defendant at the time of the Data Breach.

       20.      Representative Plaintiffs received a letter from Defendant, dated February 22,

2024, stating Representative Plaintiffs’ PHI/PII was involved in the Data Breach (the “Notice”).



                                                -5-
      Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 6 of 32 PageID #:6




       21.     As a result, Representative Plaintiffs spent time dealing with the consequences of

the Data Breach, which included and continues to include, time spent verifying the legitimacy and

impact of the Data Breach, exploring credit monitoring and identity theft insurance options, self-

monitoring Representative Plaintiffs’ accounts and seeking legal counsel regarding Representative

Plaintiffs’ options for remedying and/or mitigating the effects of the Data Breach. This time has

been lost forever and cannot be recaptured.

       22.     Representative Plaintiffs suffered actual injury in the form of damages to and

diminution in the value of Representative Plaintiffs’ PHI/PII—a form of intangible property that

Representative Plaintiffs entrusted to Defendant, which was compromised in and as a result of the

Data Breach.

       23.     Representative Plaintiffs suffered lost time, annoyance, interference and

inconvenience as a result of the Data Breach and have anxiety and increased concerns for the loss

of privacy, as well as anxiety over the impact of cybercriminals accessing, using and selling

Representative Plaintiffs’ PHI/PII.

       24.     Representative Plaintiffs suffered imminent and impending injury arising from the

substantially increased risk of fraud, identity theft and misuse resulting from Representative

Plaintiffs’ PHI/PII, in combination with Representative Plaintiffs’ names, being placed in the

hands of unauthorized third parties/criminals.

       25.     Representative Plaintiffs have a continuing interest in ensuring that Representative

Plaintiffs’ PHI/PII, which, upon information and belief, remains backed up in Defendant’s

possession, is protected and safeguarded from future breaches.




                                                 -6-
      Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 7 of 32 PageID #:7




                                         DEFENDANTS

       26.      Defendant WellNow Urgent Care, P.C. is a New York corporation with a principal

place of business located at 311 N Green St., Fl 17, Chicago, Illinois 60607. Defendant operates

various urgent care facilities. 3 Defendant WellNow acquired Defendant Physicians Immediate

Care in 2022, and is part of TAG - The Aspen Group. 4

       27.      Defendant ADMI Corp. d/b/a TAG – The Aspen Group is a Delaware corporation

with a principal place of business located at 800 Fulton Market, Chicago, Illinois 60607. TAG is

the parent company for Defendant WellNow.

       28.      Defendant Physicians Immediate Care LLC is a Delaware corporation with a

principal place of business located at 1700 W. Higgins Rd., Ste. 600, Des Plaines, Illinois 60018.

Defendant Physicians Immediate Care LLC was acquired by WellNow in 2022. 5

       29.      The true names and capacities of persons or entities, whether individual, corporate,

associate or otherwise, who may be responsible for some of the claims alleged here are currently

unknown to Representative Plaintiffs. Representative Plaintiffs will seek leave of court to amend

this Complaint to reflect the true names and capacities of such responsible parties when their

identities become known.




3
    “WellNow Urgent Care,” WellNow Urgent Care, https://www.wellnow.com/ (last accessed
February 26, 2024).
4
    “WellNow Urgent Care Acquires Physicians Immediate Care,” Wellnow Urgent Care,
https://www.wellnow.com/press-releases/wellnow-urgent-care-acquires-physicians-immediate-
care/ (last accessed February 26, 2024).
5
    Id.
                                                -7-
      Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 8 of 32 PageID #:8




                              CLASS ACTION ALLEGATIONS

       30.     Representative Plaintiffs bring this action pursuant to the provisions of Rules 23(a),

(b)(2), and (b)(3) of the Federal Rules of Civil Procedure, on behalf of Representative Plaintiffs

and the following class (collectively, the “Class”):

               Nationwide Class:
               “All individuals within the United States of America whose PHI/PII was
               exposed to unauthorized third parties as a result of the data breach allegedly
               discovered by Defendant on April 25, 2023.”

       31.     Excluded from the Class are the following individuals and/or entities: Defendant

and Defendant’s parents, subsidiaries, affiliates, officers and directors and any entity in which

Defendant has a controlling interest, all individuals who make a timely election to be excluded

from this proceeding using the correct protocol for opting out, any and all federal, state or local

governments, including but not limited to its departments, agencies, divisions, bureaus, boards,

sections, groups, counsel and/or subdivisions, and all judges assigned to hear any aspect of this

litigation, as well as their immediate family members.

       32.     In the alternative, Representative Plaintiffs request additional subclasses as

necessary based on the types of PHI/PII that were compromised.

       33.     Representative Plaintiffs reserve the right to amend the above definition or to

propose subclasses in subsequent pleadings and motions for class certification.

       34.     This action has been brought and may properly be maintained as a class action

under Federal Rules of Civil Procedure Rule 23 because there is a well-defined community of

interest in the litigation and membership in the proposed Class is easily ascertainable.

               a.      Numerosity: A class action is the only available method for the fair and
                       efficient adjudication of this controversy. The members of the Plaintiff
                       Class are so numerous that joinder of all members is impractical, if not
                       impossible. Representative Plaintiffs are informed and believes and, on that
                       basis, allege that the total number of Class Members is sufficiently
                       numerous. Membership in the Class will be determined by analysis of
                       Defendant’s records.

                                                -8-
Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 9 of 32 PageID #:9



       b.     Commonality: Representative Plaintiffs and the Class Members share a
              community of interest in that there are numerous common questions and
              issues of fact and law which predominate over any questions and issues
              solely affecting individual members, including but not necessarily limited
              to:
              1)   Whether Defendant had a legal duty to Representative Plaintiffs and
                   the Class to exercise due care in collecting, storing, using and/or
                   safeguarding their PHI/PII;
              2)   Whether Defendant knew or should have known of the susceptibility
                   of its data security systems to a data breach;
              3)   Whether Defendant’s security procedures and practices to protect its
                   systems were reasonable in light of the measures recommended by data
                   security experts;
              4)   Whether Defendant’s failure to implement adequate data security
                   measures allowed the Data Breach to occur;
              5)   Whether Defendant failed to comply with its own policies and
                   applicable laws, regulations and industry standards relating to data
                   security;
              6)   Whether Defendant adequately, promptly and accurately informed
                   Representative Plaintiffs and Class Members that their PHI/PII had
                   been compromised;
              7)   How and when Defendant actually learned of the Data Breach;
              8)   Whether Defendant’s conduct, including its failure to act, resulted in
                   or was the proximate cause of the breach of its systems, resulting in the
                   loss of Representative Plaintiffs’ and Class Members’ PHI/PII;
              9)   Whether Defendant adequately addressed and fixed the vulnerabilities
                   which permitted the Data Breach to occur;
              10) Whether Defendant engaged in unfair, unlawful or deceptive practices
                  by failing to safeguard Representative Plaintiffs’ and Class Members’
                  PHI/PII;
              11) Whether Representative Plaintiffs and Class Members are entitled to
                  actual and/or statutory damages and/or whether injunctive, corrective
                  and/or declaratory relief and/or an accounting is/are appropriate as a
                  result of Defendant’s wrongful conduct; and
              12) Whether Representative Plaintiffs and Class Members are entitled to
                  restitution as a result of Defendant’s wrongful conduct.
       c.     Typicality: Representative Plaintiffs’ claims are typical of the claims of the
              Plaintiff Class. Representative Plaintiffs and all members of the Plaintiff
              Class sustained damages arising out of and caused by Defendant’s common
              course of conduct in violation of law, as alleged herein.
       d.     Adequacy of Representation: Representative Plaintiffs in this class action
              are adequate representatives of the Plaintiff Class in that the Representative

                                       -9-
     Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 10 of 32 PageID #:10



                       Plaintiffs have the same interest in the litigation of this case as the Class
                       Members, are committed to vigorous prosecution of this case and has
                       retained competent counsel who are experienced in conducting litigation of
                       this nature. Representative Plaintiffs are not subject to any individual
                       defenses unique from those conceivably applicable to other Class Members
                       or the Class in its entirety. Representative Plaintiffs anticipate no
                       management difficulties in this litigation.
               e.      Superiority of Class Action: Since the damages suffered by individual Class
                       Members, while not inconsequential, may be relatively small, the expense
                       and burden of individual litigation by each member makes or may make it
                       impractical for members of the Plaintiff Class to seek redress individually
                       for the wrongful conduct alleged herein. Should separate actions be brought
                       or be required to be brought by each individual member of the Plaintiff
                       Class, the resulting multiplicity of lawsuits would cause undue hardship and
                       expense for the Court and the litigants. The prosecution of separate actions
                       would also create a risk of inconsistent rulings which might be dispositive
                       of the interests of the Class Members who are not parties to the
                       adjudications and/or may substantially impede their ability to adequately
                       protect their interests.

        35.    Class certification is proper because the questions raised by this Complaint are of

common or general interest affecting numerous persons, such that it is impracticable to bring all

Class Members before the Court.

        36.    This class action is also appropriate for certification because Defendant has acted

or refused to act on grounds generally applicable to Class Members, thereby requiring the Court’s

imposition of uniform relief to ensure compatible standards of conduct toward the Class Members

and making final injunctive relief appropriate with respect to the Class in its entirety. Defendant’s

policies and practices challenged herein apply to and affect Class Members uniformly and

Representative Plaintiffs’ challenge of these policies and practices hinges on Defendant’s conduct

with respect to the Class in its entirety, not on facts or law applicable only to Representative

Plaintiffs.

        37.    Unless a Class-wide injunction is issued, Defendant may continue in its failure to

properly secure the PHI/PII of Class Members, and Defendant may continue to act unlawfully as

set forth in this Complaint.



                                                -10-
    Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 11 of 32 PageID #:11




       38.     Further, Defendant has acted or refused to act on grounds generally applicable to

the Class and, accordingly, final injunctive or corresponding declaratory relief with regard to the

Class Members as a whole is appropriate under Rule 23(b)(2) of the Federal Rules of Civil

Procedure.



                           COMMON FACTUAL ALLEGATIONS

The Cyberattack

       39.     In the course of the Data Breach, one or more unauthorized third parties accessed

Class Members’ sensitive data, including but not limited to, full names, dates of birth and health

information. Representative Plaintiffs were among the individuals whose data was accessed in the

Data Breach.

       40.     Representative Plaintiffs were provided the information detailed above upon

Representative Plaintiffs’ receipt of a letter from Defendant, dated February 22, 2024.

Representative Plaintiffs were not aware of the Data Breach until receiving that letter.

Defendant’s Failed Response to the Breach
       41.     Upon information and belief, the unauthorized third-party cybercriminals gained

access to Representative Plaintiffs’ and Class Members’ PHI/PII with the intent of misusing the

PHI/PII, including marketing and selling Representative Plaintiffs’ and Class Members’ PHI/PII.

       42.     Not until roughly nine months after it claims to have discovered the Data Breach

did Defendant begin sending the Notice to persons whose PHI/PII Defendant confirmed was

potentially compromised as a result of the Data Breach. The Notice provided basic details of the

Data Breach and Defendant’s recommended next steps.




                                               -11-
    Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 12 of 32 PageID #:12




       43.     The Notice included, inter alia, the claims that Defendant had learned of the Data

Breach on April 25, 2023.

       44.     Defendant had and continues to have obligations created by HIPAA, applicable

federal and state law as set forth herein, reasonable industry standards, common law and its own

assurances and representations to keep Representative Plaintiffs’ and Class Members’ PHI/PII

confidential and to protect such PHI/PII from unauthorized access.

       45.     Representative Plaintiffs and Class Members were required to provide their PHI/PII

to Defendant in order to receive services, and as part of providing services, Defendant created,

collected and stored Representative Plaintiffs’ and Class Members’ PHI/PII with the reasonable

expectation and mutual understanding that Defendant would comply with its obligations to keep

such information confidential and secure from unauthorized access.

       46.     Despite this, Representative Plaintiffs and the Class Members remain, even today,

in the dark regarding what particular data was stolen, the particular malware used and what steps

are being taken, if any, to secure their PHI/PII going forward. Representative Plaintiffs and Class

Members are thus left to speculate as to where their PHI/PII ended up, who has used it and for

what potentially nefarious purposes. Indeed, they are left to further speculate as to the full impact

of the Data Breach and how exactly Defendant intends to enhance its information security systems

and monitoring capabilities so as to prevent further breaches.

       47.     Representative Plaintiffs’ and Class Members’ PHI/PII may end up for sale on the

dark web, or simply fall into the hands of companies that will use the detailed PHI/PII for targeted

marketing without Representative Plaintiffs’ and/or Class Members’ approval. Either way,

unauthorized individuals can now easily access Representative Plaintiffs’ and Class Members’

PHI/PII.



                                                -12-
    Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 13 of 32 PageID #:13




Defendant Collected/Stored Class Members’ PHI/PII

       48.     Defendant acquired, collected, stored and assured reasonable security over

Representative Plaintiffs’ and Class Members’ PHI/PII.

       49.     As a condition of its relationships with Representative Plaintiffs and Class

Members, Defendant required that Representative Plaintiffs and Class Members entrust Defendant

with highly sensitive and confidential PHI/PII. Defendant, in turn, stored that information on

Defendant’s system that was ultimately affected by the Data Breach.

       50.     By obtaining, collecting and storing Representative Plaintiffs’ and Class Members’

PHI/PII, Defendant assumed legal and equitable duties over the PHI/PII and knew or should have

known that it was thereafter responsible for protecting Representative Plaintiffs’ and Class

Members’ PHI/PII from unauthorized disclosure.

       51.     Representative Plaintiffs and Class Members have taken reasonable steps to

maintain their PHI/PII’s confidentiality. Representative Plaintiffs and Class Members relied on

Defendant to keep their PHI/PII confidential and securely maintained, to use this information for

business purposes only and to make only authorized disclosures of this information.

       52.     Defendant could have prevented the Data Breach, which began no later than April

25, 2023, by properly securing and encrypting and/or more securely encrypting its servers

generally, as well as Representative Plaintiffs’ and Class Members’ PHI/PII.

       53.     Defendant’s negligence in safeguarding Representative Plaintiffs’ and Class

Members’ PHI/PII is exacerbated by repeated warnings and alerts directed to protecting and

securing sensitive data, as evidenced by the trending data breach attacks in recent years.

       54.     Due to the high-profile nature of these breaches, and other breaches of its kind,

Defendant was and/or certainly should have been on notice and aware of such attacks occurring in



                                               -13-
    Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 14 of 32 PageID #:14




its industry and, therefore, should have assumed and adequately performed the duty of preparing

for such an imminent attack. This is especially true given that Defendant is a large, sophisticated

operation with the resources to put adequate data security protocols in place.

       55.     And yet, despite the prevalence of public announcements of data breach and data

security compromises, Defendant failed to take appropriate steps to protect Representative

Plaintiffs’ and Class Members’ PHI/PII from being compromised.

Defendant Had an Obligation to Protect the Stolen Information
       56.     In failing to adequately secure Representative Plaintiffs’ and Class Members’

sensitive data, Defendant breached duties it owed Representative Plaintiffs and Class Members

under statutory and common law. Under HIPAA, health insurance providers have an affirmative

duty to keep patients’ PHI/PII confidential. As a covered entity, Defendant has a statutory duty

under HIPAA and other federal and state statutes to safeguard Representative Plaintiffs’ and Class

Members’ PHI/PII. Moreover, Representative Plaintiffs and Class Members surrendered their

highly sensitive PHI/PII to Defendant under the implied condition that Defendant would keep it

private and secure. Accordingly, Defendant also has an implied duty to safeguard their PHI/PII,

independent of any statute.

       57.     Because Defendant is covered by HIPAA (45 C.F.R. § 160.102), it is required to

comply with the HIPAA Privacy Rule, 45 C.F.R. Part 160 and Part 164, Subparts A and E

(“Standards for Privacy of Individually Identifiable Health Information”) and Security Rule

(“Security Standards for the Protection of Electronic Protected Health Information”), 45 C.F.R.

Part 160 and Part 164, Subparts A and C.

       58.     HIPAA’s Privacy Rule or Standards for Privacy of Individually Identifiable Health

Information establishes national standards for the protection of health information.


                                               -14-
    Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 15 of 32 PageID #:15




       59.     HIPAA’s Privacy Rule or Security Standards for the Protection of Electronic

Protected Health Information establishes a national set of security standards for protecting health

information that is kept or transferred in electronic form.

       60.     HIPAA requires Defendant to “comply with the applicable standards,

implementation specifications, and requirements” of HIPAA “with respect to electronic protected

health information.” 45 C.F.R. § 164.302.

       61.     “Electronic protected health information” is “individually identifiable health

information […] that is (i) transmitted by electronic media; maintained in electronic media.” 45

C.F.R. § 160.103.

       62.     HIPAA’s Security Rule requires Defendant to do the following:

               a. Ensure the confidentiality, integrity and availability of all electronic protected
                  health information the covered entity or business associate creates, receives,
                  maintains or transmits;
               b. Protect against any reasonably anticipated threats or hazards to the security or
                  integrity of such information;

               c. Protect against any reasonably anticipated uses or disclosures of such
                  information that are not permitted; and

               d. Ensure compliance by its workforce.

       63.     HIPAA also requires Defendant to “review and modify the security measures

implemented […] as needed to continue provision of reasonable and appropriate protection of

electronic protected health information” under 45 C.F.R. § 164.306(e), and to “[i]mplement

technical policies and procedures for electronic information systems that maintain electronic

protected health information to allow access only to those persons or software programs that have

been granted access rights.” 45 C.F.R. § 164.312(a)(1).




                                                -15-
    Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 16 of 32 PageID #:16




       64.     Moreover, the HIPAA Breach Notification Rule, 45 C.F.R. §§ 164.400-414,

requires Defendant to provide notice of the Data Breach to each affected individual “without

unreasonable delay and in no case later than 60 days following discovery of the breach.”

       65.     Defendant was also prohibited by the Federal Trade Commission Act (the “FTC

Act”) (15 U.S.C. § 45) from engaging in “unfair or deceptive acts or practices in or affecting

commerce.” The Federal Trade Commission (the “FTC”) has concluded that a company’s failure

to maintain reasonable and appropriate data security for consumers’ sensitive personal information

is an “unfair practice” in violation of the FTC Act. See, e.g., FTC v. Wyndham Worldwide Corp.,

799 F.3d 236 (3d Cir. 2015).

       66.     In addition to its obligations under federal and state laws, Defendant owed a duty

to Representative Plaintiffs and Class Members to exercise reasonable care in obtaining, retaining,

securing, safeguarding, deleting and protecting the PHI/PII in Defendant’s possession from being

compromised, lost, stolen, accessed, and misused by unauthorized persons. Defendant owed a duty

to Representative Plaintiffs and Class Members to provide reasonable security, including

consistency with industry standards and requirements, and to ensure that its computer systems,

networks and protocols adequately protected Representative Plaintiffs’ and Class Members’

PHI/PII.

       67.     Defendant owed a duty to Representative Plaintiffs and Class Members to design,

maintain and test its computer systems, servers and networks to ensure that all PHI/PII in its

possession was adequately secured and protected.

       68.     Defendant owed a duty to Representative Plaintiffs and Class Members to create

and implement reasonable data security practices and procedures to protect all PHI/PII in its




                                               -16-
    Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 17 of 32 PageID #:17




possession, including not sharing information with other entities who maintained substandard data

security systems.

        69.     Defendant owed a duty to Representative Plaintiffs and Class Members to

implement processes that would immediately detect a breach on its data security systems in a

timely manner.

        70.     Defendant owed a duty to Representative Plaintiffs and Class Members to act upon

data security warnings and alerts in a timely fashion.

        71.     Defendant owed a duty to Representative Plaintiffs and Class Members to disclose

if its computer systems and data security practices were inadequate to safeguard individuals’

PHI/PII from theft because such an inadequacy would be a material fact in the decision to entrust

their PHI/PII to Defendant.

        72.     Defendant owed a duty of care to Representative Plaintiffs and Class Members

because they were foreseeable and probable victims of any inadequate data security practices.

        73.     Defendant owed a duty to Representative Plaintiffs and Class Members to encrypt

and/or more reliably encrypt Representative Plaintiffs’ and Class Members’ PHI/PII and monitor

user behavior and activity in order to identity possible threats.

Value of the Relevant Sensitive Information

        74.     While the greater efficiency of electronic health records translates to cost savings

for providers, it also comes with the risk of privacy breaches. These electronic health records

contain a plethora of sensitive information (e.g., patient data, patient diagnosis, lab results, medical

prescriptions, treatment plans, etc.) that is valuable to cybercriminals. One patient’s complete

record can be sold for hundreds of dollars on the dark web. As such, PHI/PII is a valuable

commodity for which a “cyber black market” exists in which criminals openly post stolen payment



                                                 -17-
    Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 18 of 32 PageID #:18




card numbers, Social Security numbers and other personal information on a number of

underground internet websites.

       75.     The high value of PHI/PII to criminals is further evidenced by the prices they will

pay for it through the dark web. Numerous sources cite dark web pricing for stolen identity

credentials. For example, personal information can be sold at a price ranging from $40 to $200,

and bank details have a price range of $50 to $200. 6 Experian reports that a stolen credit or debit

card number can sell for $5 to $110 on the dark web. 7 Criminals can also purchase access to entire

company data breaches from $999 to $4,995. 8

       76.     Between 2005 and 2019, at least 249 million people were affected by healthcare

data breaches. 9 Indeed, during 2019 alone, over 41 million healthcare records were exposed,

stolen, or unlawfully disclosed in 505 data breaches. 10 In short, these sorts of data breaches are

increasingly common, especially among healthcare systems, which account for 30.03 percent of

overall health data breaches, according to cybersecurity firm Tenable. 11

       77.     These criminal activities have and will result in devastating financial and personal

losses to Representative Plaintiffs and Class Members. For example, it is believed that certain

PHI/PII compromised in the 2017 Equifax data breach was being used three years later by identity



6
    Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct.
16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-
dark-web-how-much-it-costs/ (last accessed February 26, 2024).
7
    Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian, Dec.
6, 2017, available at: https://www.experian.com/blogs/ask-experian/heres-how-much-your-
personal-information-is-selling-for-on-the-dark-web/ (last accessed February 26, 2024).
8
    In the Dark, VPNOverview, 2019, available at:
https://vpnoverview.com/privacy/anonymous-browsing/in-the-dark/ (last accessed February 26,
2024).
9
    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7349636/#B5-healthcare-08-00133/ (last
accessed February 26, 2024).
10
    https://www.hipaajournal.com/december-2019-healthcare-data-breach-report/ (last accessed
February 26, 2024).
11
    https://www.tenable.com/blog/healthcare-security-ransomware-plays-a-prominent-role-in-
covid-19-era-breaches (last accessed February 26, 2024).
                                               -18-
    Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 19 of 32 PageID #:19




thieves to apply for COVID-19-related benefits in the state of Oklahoma. Such fraud will be an

omnipresent threat for Representative Plaintiffs and Class Members for the rest of their lives. They

will need to remain constantly vigilant.

       78.     The FTC defines identity theft as “a fraud committed or attempted using the

identifying information of another person without authority.” The FTC describes “identifying

information” as “any name or number that may be used, alone or in conjunction with any other

information, to identify a specific person,” including, among other things, “[n]ame, Social Security

number, date of birth, official State or government issued driver’s license or identification number,

alien registration number, government passport number, employer or taxpayer identification

number.”

       79.     Identity thieves can use PHI/PII, such as that of Representative Plaintiffs and Class

Members which Defendant failed to keep secure, to perpetrate a variety of crimes that harm

victims. For instance, identity thieves may commit various types of government fraud such as

immigration fraud, obtaining a driver’s license or identification card in the victim’s name but with

another’s picture, using the victim’s information to obtain government benefits or filing a

fraudulent tax return using the victim’s information to obtain a fraudulent refund.

       80.     The ramifications of Defendant’s failure to keep secure Representative Plaintiffs’

and Class Members’ PHI/PII are long lasting and severe. Once PHI/PII is stolen, particularly

identification numbers, fraudulent use of that information and damage to victims may continue for

years. Indeed, Representative Plaintiffs’ and Class Members’ PHI/PII was taken by hackers to

engage in identity theft or to sell it to other criminals who will purchase the PHI/PII for that

purpose. The fraudulent activity resulting from the Data Breach may not come to light for years.




                                                -19-
     Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 20 of 32 PageID #:20




        81.     There may be a time lag between when harm occurs versus when it is discovered

and also between when PHI/PII is stolen and when it is used. According to the U.S. Government

Accountability Office (“GAO”), which conducted a study regarding data breaches:

        [L]aw enforcement officials told us that in some cases, stolen data may be held for
        up to a year or more before being used to commit identity theft. Further, once stolen
        data have been sold or posted on the Web, fraudulent use of that information may
        continue for years. As a result, studies that attempt to measure the harm resulting
        from data breaches cannot necessarily rule out all future harm. 12

        82.     The harm to Representative Plaintiffs and Class Members is especially acute given

the nature of the leaked data. Medical identity theft is one of the most common, most expensive

and most difficult-to-prevent forms of identity theft. According to Kaiser Health News, “medical-

related identity theft accounted for 43 percent of all identity thefts reported in the United States in

2013,” which is more than identity thefts involving banking and finance, the government and the

military, or education. 13

        83.     “Medical identity theft is a growing and dangerous crime that leaves its victims

with little to no recourse for recovery,” reported Pam Dixon, executive director of World Privacy

Forum. “Victims often experience financial repercussions and worse yet, they frequently discover

erroneous information has been added to their personal medical files due to the thief’s activities.” 14

        84.     When cybercriminals access financial information, health insurance information

and other personally sensitive data—as they did here—there is no limit to the amount of fraud to

which Defendant may have exposed Representative Plaintiffs and Class Members.

        85.     A study by Experian found that the average total cost of medical identity theft is

“about $20,000” per incident, and that a majority of victims of medical identity theft were forced


12
    Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
http://www.gao.gov/new.items/d07737.pdf/ (last accessed February 26, 2024).
13
    Michael Ollove, “The Rise of Medical Identity Theft in Healthcare,” Kaiser Health News,
Feb. 7, 2014, https://khn.org/news/rise-of-indentity-theft/ (last accessed February 26, 2024).
14
    Id.
                                                 -20-
     Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 21 of 32 PageID #:21




to pay out-of-pocket costs for healthcare they did not receive in order to restore coverage. 15 Almost

half of medical identity theft victims lose their healthcare coverage as a result of the incident, while

nearly one-third saw their insurance premiums rise, and 40 percent were never able to resolve their

identity theft at all. 16

         86.      And data breaches are preventable. 17 As Lucy Thompson wrote in the DATA

BREACH AND ENCRYPTION HANDBOOK, “[i]n almost all cases, the data breaches that occurred could

have been prevented by proper planning and the correct design and implementation of appropriate

security solutions.” 18 She added that “[o]rganizations that collect, use, store, and share sensitive

personal data must accept responsibility for protecting the information and ensuring that it is not

compromised….” 19

         87.      Most of the reported data breaches are a result of lax security and the failure to

create or enforce appropriate security policies, rules and procedures. Appropriate information

security controls, including encryption, must be implemented and enforced in a rigorous and

disciplined manner so that a data breach never occurs. 20

         88.      Here, Defendant knew of the importance of safeguarding PHI/PII and of the

foreseeable consequences that would occur if Representative Plaintiffs’s and Class Members’

PHI/PII was stolen, including the significant costs that would be placed on Representative

Plaintiffs and Class Members as a result of a breach of this magnitude. As detailed above,


15
   See Elinor Mills, “Study: Medical Identity Theft is Costly for Victims,” CNET (Mar, 3,
2010), https://www.cnet.com/news/study-medical-identity-theft-is-costly-for-victims/ (last
accessed February 26, 2024).
16
   Id.; see also Healthcare Data Breach: What to Know About them and What to Do After One,
EXPERIAN, https://www.experian.com/blogs/ask-experian/healthcare-data-breach-what-to-
know-about-them-and-what-to-do-after-one/ (last accessed February 26, 2024).
17
   Lucy L. Thompson, “Despite the Alarming Trends, Data Breaches Are Preventable,” in
DATA BREACH AND ENCRYPTION HANDBOOK (Lucy Thompson, ed., 2012).
18
   Id. at 17.
19
   Id. at 28.
20
   Id.

                                                 -21-
    Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 22 of 32 PageID #:22




Defendant knew or should have known that the development and use of such protocols were

necessary to fulfill its statutory and common law duties to Representative Plaintiffs and Class

Members. Its failure to do so is therefore intentional, willful, reckless and/or grossly negligent.

       89.     Defendant disregarded the rights of Representative Plaintiffs and Class Members

by, inter alia, (i) intentionally, willfully, recklessly and/or negligently failing to take adequate and

reasonable measures to ensure that its network servers were protected against unauthorized

intrusions, (ii) failing to disclose that it did not have adequately robust security protocols and

training practices in place to adequately safeguard Representative Plaintiffs’ and Class Members’

PHI/PII, (iii) failing to take standard and reasonably available steps to prevent the Data Breach,

(iv) concealing the existence and extent of the Data Breach for an unreasonable duration of time,

and (v) failing to provide Representative Plaintiffs and Class Members prompt and accurate notice

of the Data Breach.



                                 FIRST CLAIM FOR RELIEF
                                           Negligence
                               (On behalf of the Nationwide Class)

       90.     Each and every allegation of the preceding paragraphs is incorporated in this Count

with the same force and effect as though fully set forth herein.

       91.     At all times herein relevant, Defendant owed Representative Plaintiffs and Class

Members a duty of care, inter alia, to act with reasonable care to secure and safeguard their PHI/PII

and to use commercially reasonable methods to do so. Defendant took on this obligation upon

accepting and storing Representative Plaintiffs’ and Class Members’ PHI/PII on its computer

systems and networks.

       92.     Among these duties, Defendant was expected:

               a.      to exercise reasonable care in obtaining, retaining, securing, safeguarding,
                       deleting and protecting the PHI/PII in its possession;

                                                 -22-
      Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 23 of 32 PageID #:23




               b.     to protect Representative Plaintiffs’ and Class Members’ PHI/PII using
                      reasonable and adequate security procedures and systems that were/are
                      compliant with industry-standard practices;
               c.     to implement processes to quickly detect the Data Breach and to timely act
                      on warnings about data breaches; and
               d.     to promptly notify Representative Plaintiffs and Class Members of any data
                      breach, security incident or intrusion that affected or may have affected their
                      PHI/PII.

        93.    Defendant knew that the PHI/PII was private and confidential and should be

protected as private and confidential and, thus, Defendant owed a duty of care not to subject

Representative Plaintiffs and Class Members to an unreasonable risk of harm because they were

foreseeable and probable victims of any inadequate security practices.

        94.    Defendant knew or should have known of the risks inherent in collecting and

storing PHI/PII, the vulnerabilities of its data security systems and the importance of adequate

security. Defendant knew about numerous, well-publicized data breaches.

        95.    Defendant knew or should have known that its data systems and networks did not

adequately safeguard Representative Plaintiffs’ and Class Members’ PHI/PII.

        96.    Only Defendant was in the position to ensure that its systems and protocols were

sufficient to protect the PHI/PII that Representative Plaintiffs and Class Members had entrusted to

it.

        97.    Defendant breached its duties to Representative Plaintiffs and Class Members by

failing to provide fair, reasonable or adequate computer systems and data security practices to

safeguard Representative Plaintiffs’ and Class Members’ PHI/PII.

        98.    Because Defendant knew that a breach of its systems could damage numerous

individuals, including Representative Plaintiffs and Class Members, Defendant had a duty to

adequately protect its data systems and the PHI/PII contained thereon.



                                               -23-
    Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 24 of 32 PageID #:24




       99.    Representative Plaintiffs’ and Class Members’ willingness to entrust Defendant

with its PHI/PII was predicated on the understanding that Defendant would take adequate security

precautions. Moreover, only Defendant had the ability to protect its systems and the PHI/PII it

stored on them from attack. Thus, Defendant had a special relationship with Representative

Plaintiffs and Class Members.

       100.   Defendant also had independent duties under state and federal laws that required

Defendant to reasonably safeguard Representative Plaintiffs’ and Class Members’ PHI/PII and

promptly notify them about the Data Breach. These “independent duties” are untethered to any

contract between Defendant and Representative Plaintiffs and/or the remaining Class Members.

       101.   Defendant breached its general duty of care to Representative Plaintiffs and Class

Members in, but not necessarily limited to, the following ways:

              a.      by failing to provide fair, reasonable or adequate computer systems and data
                      security practices to safeguard Representative Plaintiffs’ and Class
                      Members’ PHI/PII;
              b.      by failing to timely and accurately disclose that Representative Plaintiffs’
                      and Class Members’ PHI/PII had been improperly acquired or accessed;
              c.      by failing to adequately protect and safeguard the PHI/PII by knowingly
                      disregarding standard information security principles, despite obvious risks,
                      and by allowing unmonitored and unrestricted access to unsecured PHI/PII;
              d.      by failing to provide adequate supervision and oversight of the PHI/PII with
                      which it was and is entrusted, in spite of the known risk and foreseeable
                      likelihood of breach and misuse, which permitted an unknown third party
                      to gather Representative Plaintiffs’ and Class Members’ PHI/PII, misuse
                      the PHI/PII and intentionally disclose it to others without consent;
              e.      by failing to adequately train its employees to not store PHI/PII longer than
                      absolutely necessary;

              f.      by failing to consistently enforce security policies aimed at protecting
                      Representative Plaintiffs’ and the Class Members’ PHI/PII;
              g.      by failing to implement processes to quickly detect data breaches, security
                      incidents or intrusions; and
              h.      by failing to encrypt Representative Plaintiffs’ and Class Members’ PHI/PII
                      and monitor user behavior and activity in order to identify possible threats.


                                              -24-
    Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 25 of 32 PageID #:25




       102.    Defendant’s willful failure to abide by these duties was wrongful, reckless and/or

grossly negligent in light of the foreseeable risks and known threats.

       103.    As a proximate and foreseeable result of Defendant’s grossly negligent conduct,

Representative Plaintiffs and Class Members have suffered damages and are at imminent risk of

additional harms and damages (as alleged above).

       104.    The law further imposes an affirmative duty on Defendant to timely disclose the

unauthorized access and theft of the PHI/PII to Representative Plaintiffs and Class Members so

that they could and/or still can take appropriate measures to mitigate damages, protect against

adverse consequences and thwart future misuse of their PHI/PII.

       105.    Defendant breached its duty to notify Representative Plaintiffs and Class Members

of the unauthorized access by waiting roughly nine months after learning of the Data Breach to

notify Representative Plaintiffs and Class Members and then by failing and continuing to fail to

provide Representative Plaintiffs and Class Members sufficient information regarding the breach.

To date, Defendant has not provided sufficient information to Representative Plaintiffs and Class

Members regarding the extent of the unauthorized access and continues to breach its disclosure

obligations to Representative Plaintiffs and Class Members.

       106.    Further, through its failure to provide timely and clear notification of the Data

Breach to Representative Plaintiffs and Class Members, Defendant prevented Representative

Plaintiffs and Class Members from taking meaningful, proactive steps to, inter alia, secure and/or

access their PHI/PII.

       107.    There is a close causal connection between Defendant’s failure to implement

security measures to protect Representative Plaintiffs’ and Class Members’ PHI/PII and the harm

suffered, or risk of imminent harm suffered, by Representative Plaintiffs and Class Members.



                                               -25-
     Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 26 of 32 PageID #:26




Representative Plaintiffs’ and Class Members’ PHI/PII was accessed as the proximate result of

Defendant’s failure to exercise reasonable care in safeguarding such PHI/PII by adopting,

implementing and maintaining appropriate security measures.

        108.      Defendant’s wrongful actions, inactions and omissions constituted (and continue to

constitute) common law negligence.

        109.      The damages Representative Plaintiffs and Class Members have suffered (as

alleged above) and will continue to suffer were and are the direct and proximate result of

Defendant’s grossly negligent conduct.

        110.      Additionally, 15 U.S.C. § 45 (FTC Act, Section 5) prohibits “unfair […] practices

in or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair act or

practice by businesses, such as Defendant, of failing to use reasonable measures to protect PHI/PII.

The FTC publications and orders described above also form part of the basis of Defendant’s duty

in this regard.

        111.      Defendant violated 15 U.S.C. § 45 by failing to use reasonable measures to protect

PHI/PII and not complying with applicable industry standards, as described in detail herein.

Defendant’s conduct was particularly unreasonable given the nature and amount of PHI/PII it

obtained and stored and the foreseeable consequences of the immense damages that would result

to Representative Plaintiffs and Class Members.

        112.      Defendant’s violation of 15 U.S.C. § 45 constitutes negligence per se. Defendant

also violated the HIPAA Privacy and Security rules which, likewise, constitutes negligence per se.

        113.      As a direct and proximate result of Defendant’s negligence and negligence per se,

Representative Plaintiffs and Class Members have suffered and will continue to suffer injury,

including but not limited to (i) actual identity theft, (ii) the loss of the opportunity of how their



                                                 -26-
    Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 27 of 32 PageID #:27




PHI/PII is used, (iii) the compromise, publication and/or theft of their PHI/PII, (iv) out-of-pocket

expenses associated with the prevention, detection and recovery from identity theft, tax fraud

and/or unauthorized use of their PHI/PII, (v) lost opportunity costs associated with effort expended

and the loss of productivity addressing and attempting to mitigate the actual and future

consequences of the Data Breach, including but not limited to efforts spent researching how to

prevent, detect, contest and recover from embarrassment and identity theft, (vi) lost continuity in

relation to their personal records, (vii) the continued risk to their PHI/PII, which may remain in

Defendant’s possession and is subject to further unauthorized disclosures so long as Defendant

fails to undertake appropriate and adequate measures to protect Representative Plaintiffs’ and

Class Members’ PHI/PII in its continued possession, and (viii) future costs in terms of time, effort

and money that will be expended to prevent, detect, contest and repair the impact of the PHI/PII

compromised as a result of the Data Breach for the remainder of the lives of Representative

Plaintiffs and Class Members.

       114.    As a direct and proximate result of Defendant’s negligence and negligence per se,

Representative Plaintiffs and Class Members have suffered and will continue to suffer other forms

of injury and/or harm, including but not limited to anxiety, emotional distress, loss of privacy and

other economic and noneconomic losses.

       115.    Additionally, as a direct and proximate result of Defendant’s negligence and

negligence per se, Representative Plaintiffs and Class Members have suffered and will continue

to suffer the continued risks of exposure of their PHI/PII, which remains in Defendant’s possession

and is subject to further unauthorized disclosures so long as Defendant fails to undertake

appropriate and adequate measures to protect PHI/PII in its continued possession.




                                               -27-
    Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 28 of 32 PageID #:28



                                SECOND CLAIM FOR RELIEF
                                  Breach of Implied Contract
                               (On behalf of the Nationwide Class)

       116.    Each and every allegation of the preceding paragraphs is incorporated in this Count

with the same force and effect as though fully set forth herein.

       117.    Through their course of conduct, Defendant, Representative Plaintiffs and Class

Members entered into implied contracts for Defendant to implement data security adequate to

safeguard and protect the privacy of Representative Plaintiffs’ and Class Members’ PHI/PII.

       118.    Defendant required Representative Plaintiffs and Class Members to provide and

entrust their PHI/PII as a condition of obtaining Defendant’s goods/services/employment

from/with Defendant.

       119.    Defendant solicited and invited Representative Plaintiffs and Class Members to

provide their PHI/PII as part of Defendant’s regular business practices. Representative Plaintiffs

and Class Members accepted Defendant’s offers and provided their PHI/PII to Defendant.

       120.    As a condition of being direct customers and/or employees of Defendant,

Representative Plaintiffs and Class Members provided and entrusted their PHI/PII to Defendant.

In so doing, Representative Plaintiffs and Class Members entered into implied contracts with

Defendant by which Defendant agreed to safeguard and protect such non-public information, to

keep such information secure and confidential and to timely and accurately notify Representative

Plaintiffs and Class Members if its data had been breached and compromised or stolen.

       121.    A meeting of the minds occurred when Representative Plaintiffs and Class

Members agreed to, and did, provide their PHI/PII to Defendant, in exchange for, amongst other

things, the protection of their PHI/PII.

       122.    Representative Plaintiffs and Class Members fully performed their obligations

under the implied contracts with Defendant.

                                                -28-
    Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 29 of 32 PageID #:29




       123.    Defendant breached the implied contracts it made with Representative Plaintiffs

and Class Members by failing to safeguard and protect their PHI/PII and by failing to provide

timely and accurate notice to them that their PHI/PII was compromised as a result of the Data

Breach.

       124.    As a direct and proximate result of Defendant’s above-described breach of implied

contract, Representative Plaintiffs and Class Members have suffered and will continue to suffer (i)

ongoing, imminent and impending threat of identity theft crimes, fraud and abuse, resulting in

monetary loss and economic harm, (ii) actual identity theft crimes, fraud and abuse, resulting in

monetary loss and economic harm, (iii) loss of the confidentiality of the stolen confidential data,

(iv) the illegal sale of the compromised data on the dark web, (v) lost work time, and (vi) other

economic and noneconomic harm.



                               THIRD CLAIM FOR RELIEF
              Breach of the Implied Covenant of Good Faith and Fair Dealing
                             (On behalf of the Nationwide Class)

       125.    Each and every allegation of the preceding paragraphs is incorporated in this Count

with the same force and effect as though fully set forth therein.

       126.    Every contract in this State has an implied covenant of good faith and fair

dealing. This implied covenant is an independent duty and may be breached even when there

is no breach of a contract’s actual and/or express terms.

       127.    Representative Plaintiffs and Class Members have complied with and performed

all conditions of their contracts with Defendant.

       128.    Defendant breached the implied covenant of good faith and fair dealing by failing

to maintain adequate computer systems and data security practices to safeguard PHI/PII, failing to

timely and accurately disclose the Data Breach to Representative Plaintiffs and Class Members


                                                -29-
     Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 30 of 32 PageID #:30




and continued acceptance of PHI/PII and storage of other personal information after Defendant

knew or should have known of the security vulnerabilities of the systems that were exploited in

the Data Breach.

        129.   Defendant acted in       bad faith and/or with malicious motive in denying

Representative Plaintiffs and Class Members the full benefit of their bargains as originally

intended by the parties, thereby causing them injury in an amount to be determined at trial.



                                        RELIEF SOUGHT

        WHEREFORE, Representative Plaintiffs, on Representative Plaintiffs’ own behalf and

on behalf of each member of the proposed National Class, respectfully request that the Court enter

judgment in favor of Representative Plaintiffs and the Class and for the following specific relief

against Defendant as follows:

        1.     That the Court declare, adjudge and decree that this action is a proper class action

and certify each of the proposed Class and/or any other appropriate subclasses under Federal Rules

of Civil Procedure Rule 23 (b)(1), (b)(2), and/or (b)(3), including appointment of Representative

Plaintiffs’ counsel as Class Counsel;

        2.     For an award of damages, including actual, nominal and consequential damages, as

allowed by law in an amount to be determined;

        3.     That the Court enjoin Defendant, ordering it to cease and desist from unlawful

activities;

        4.     For equitable relief enjoining Defendant from engaging in the wrongful conduct

complained of herein pertaining to the misuse and/or disclosure of Representative Plaintiffs’ and

Class Members’ PHI/PII, and from refusing to issue prompt, complete and accurate disclosures to

Representative Plaintiffs and Class Members;

                                               -30-
    Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 31 of 32 PageID #:31




       5.     For injunctive relief requested by Representative Plaintiffs, including but not

limited to injunctive and other equitable relief as is necessary to protect the interests of

Representative Plaintiffs and Class Members, including but not limited to an Order:


              a.      prohibiting Defendant from engaging in the wrongful and unlawful acts
                      described herein;
              b.      requiring Defendant to protect, including through encryption, all data
                      collected through the course of business in accordance with all applicable
                      regulations, industry standards and federal, state or local laws;
              c.      requiring Defendant to delete and purge Representative Plaintiffs’ and Class
                      Members’ PHI/PII unless Defendant can provide to the Court reasonable
                      justification for the retention and use of such information when weighed
                      against the privacy interests of Representative Plaintiffs and Class
                      Members;
              d.      requiring Defendant to implement and maintain a comprehensive
                      Information Security Program designed to protect the confidentiality and
                      integrity of Representative Plaintiffs’ and Class Members’ PHI/PII;
              e.      requiring Defendant to engage independent third-party security auditors and
                      internal personnel to run automated security monitoring, simulated attacks,
                      penetration tests and audits on Defendant’s systems on a periodic basis;
              f.      prohibiting Defendant from maintaining Representative Plaintiffs’ and
                      Class Members’ PHI/PII on a cloud-based database;
              g.      requiring Defendant to segment data by creating firewalls and access
                      controls so that if one area of Defendant’s network is compromised, hackers
                      cannot gain access to other portions of Defendant’s systems;
              h.      requiring Defendant to conduct regular database scanning and securing
                      checks;
              i.      requiring Defendant to establish an information security training program
                      that includes at least annual information security training for all employees,
                      with additional training to be provided as appropriate based upon the
                      employees’ respective responsibilities with handling PHI/PII, as well as
                      protecting the PHI/PII of Representative Plaintiffs and Class Members;
              j.      requiring Defendant to implement a system of tests to assess its respective
                      employees’ knowledge of the education programs discussed in the
                      preceding subparagraphs, as well as randomly and periodically testing
                      employees’ compliance with Defendant’s policies, programs and systems
                      for protecting personally identifiable information;
              k.      requiring Defendant to implement, maintain, review and revise as necessary
                      a threat management program to appropriately monitor Defendant’s
                      networks for internal and external threats, and assess whether monitoring
                      tools are properly configured, tested and updated; and


                                               -31-
      Case: 1:24-cv-01595 Document #: 1 Filed: 02/26/24 Page 32 of 32 PageID #:32



                l.       requiring Defendant to meaningfully educate all Class Members about the
                         threats that they face as a result of the loss of their confidential personally
                         identifiable information to third parties, as well as the steps affected
                         individuals must take to protect themselves.

        6.      For prejudgment interest on all amounts awarded, at the prevailing legal rate;

        7.      For an award of attorneys’ fees, costs and litigation expenses, as allowed by law;

and

        8.      For all other Orders, findings and determinations identified and sought in this

Complaint.

                                           JURY DEMAND
         Representative Plaintiffs, individually and on behalf of the Plaintiff Class, hereby demand
a trial by jury for all issues triable by jury.


Dated: February 26, 2024


                                         By:      /s/ Laura Grace Van Note
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                                                   -32-
